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                    EXHIBIT A




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                          Case: 1:24-cv-08904 Document12-Person
      Hearing Date: <<CmsHearingStart>>                #: 1-1 Filed: 09/25/24 Page 2 of 14 PageID #:68/14/2024 1:00 PM
                                                                  Jury
      Location: <<CmsHearingResource="Location">>                                                    IRIS Y. MARTINEZ
      Judge: <<CmsHearingResource="JudicialOfficer">>                                                CIRCUIT CLERK
                                                                                                                              COOK COUNTY, IL
                                                                                                                              2024CH07636
                                                                                                                              Calendar, 4
                                                       IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                          28945802
                                                           COUNTY DEPARTMENT, CHANCERY DIVISION
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                                            BRIAN OLSEN, on behalf of himself and
                                            those similarly situated,

                                                         Plaintiff,

                                                  v.
                                                                                                          2024CH07636
                                            NAPLETON ENTERPRISES, LLC;                        Case No. _________________
                                            NORTH AMERICAN AUTOMOTIVE
                                            SERVICES, INC., d/b/a Ed Napleton                  JURY TRIAL DEMANDED
                                            Automotive Group; NAPLETON’S
                                            ARLINGTON HEIGHTS MOTORS, INC.,
                                            d/b/a Napleton’s Arlington Heights
                                            Chrysler Dodge Jeep Ram,

                                                         Defendants.


                                                                       CLASS ACTION COMPLAINT

                                                                       I.   NATURE OF THE CASE

                                                  1.     This case arises from Defendants’ practice of accessing the personal

                                            credit information of Plaintiff and members of the putative class by procuring

                                            consumer reports (also called credit reports) about them without any legal basis to do

                                            so. This unlawful conduct is not only a violation of privacy but is also a violation of

                                            section 1681b(f) of the Fair Credit Reporting Act (“FCRA”), 15 U.S.C. §§ 1681-1681x,

                                            a federal statute over which this Court has concurrent jurisdiction.

                                                  2.     Out of concern for consumers’ privacy, consumer reports may only be

                                            disseminated or obtained for the very limited purposes set forth in FCRA section

                                            1681b. Users of consumer reports like Defendants may obtain a report for “no other”

                                            purpose. 15 U.S.C. § 168lb(a)(3).
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                                                   3.    This consumer class action challenges the policy and procedure of

                                            Defendants, which unlawfully obtained the consumer reports of Plaintiff and the
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                                            putative class under the false premise that they had “applied for a loan or credit,”

                                            and seeks class-wide relief for Defendants’ invasion of consumer privacy and illegal

                                            acquisition of consumer reports in violation of FCRA section 1681b.

                                                                             II.    THE PARTIES

                                                   4.    Plaintiff Brian Olsen, an individual, is a “consumer” as defined by

                                            section 1681a(c) of the FCRA. He is a resident of Illinois.

                                                   5.    Defendant Napleton Enterprises, LLC is an Illinois business entity with

                                            its principal place of business at One Oakbrook Terrace, 6th Floor, Oakbrook Terrace,

                                            Illinois.

                                                   6.    Defendant North American Automotive Services, Inc., d/b/a Ed

                                            Napleton Automotive Group (“NAAS”), is an Illinois corporation with its principal

                                            place of business at One Oakbrook Terrace, 6th Floor, Oakbrook Terrace, Illinois.

                                            NAAS is owned and controlled by Defendant Napleton Enterprises, LLC.

                                                   7.    Defendant Napleton’s Arlington Heights Motors, Inc., d/b/a Napleton’s

                                            Arlington Heights Chrysler Dodge Jeep Ram (“NAH Chrysler”), is an Illinois business

                                            entity with its principal place of business at 1155 West Dundee Road, Arlington

                                            Heights, Illinois. It is owned and controlled by Defendants Napleton Enterprises,

                                            LLC and/or NAAS.

                                                   8.    Under    theories    of   agency   and   respondeat   superior,   Napleton

                                            Enterprises, LLC is liable for the actions of its agents NAAS and NAH Chrysler.




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                                                  9.     Under theories of agency and respondeat superior, NAAS is liable for

                                            the actions of its agent NAH Chrysler.
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                                                  10.    At all times relevant hereto, Defendants and their affiliates and

                                            subsidiary corporations acted by and through their agents, servants, and employees,

                                            who acted within the scope of their authority and within the course of their

                                            employment or engagement by Defendants and/or its affiliates or subsidiaries.

                                                  11.    Defendants Napleton Enterprises, LLC, NAAS, and NAH Chrysler

                                            (collectively, “Defendants” or “Napleton”) have operated as a common enterprise

                                            while engaging in the violations of the Fair Credit Reporting Act alleged below.

                                            Defendants have conducted the business practices described below through an

                                            interrelated network of companies with common ownership, officers, managers,

                                            business functions, and employees. Because Defendants have operated as a common

                                            enterprise, each is jointly and severally liable for the conduct alleged herein.

                                                                   III.   JURISDICTION AND VENUE

                                                  12.    The Court has jurisdiction over this action, as Defendants are

                                            incorporated in Illinois, their principal places of business are in Illinois, and they own

                                            and operate nearly one hundred automotive dealerships, including several in Cook

                                            County, Illinois.

                                                  13.    This Court has personal jurisdiction over Defendants because the acts

                                            and transactions giving rise to this action occurred in Cook County, and because

                                            Defendants conduct substantial business in Cook County.




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                                                                     IV.   FACTUAL ALLEGATIONS

                                                                              Legal Framework
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                                                  14.    The FCRA strictly limits the circumstances under which someone may

                                            obtain a credit report (or “consumer report”).

                                                  15.    In relevant part, the statute provides as follows:

                                                  A person shall not use or obtain a consumer report for any purpose
                                                  unless —

                                                  (1)   the consumer report is obtained for a purpose for which the
                                                  consumer report is authorized to be furnished under [FCRA section
                                                  1681b(a)]; and

                                                  (2)     the purpose is certified in accordance with section 1681e of this
                                                  title by a prospective user of the report through a general or specific
                                                  certification.

                                            15 U.S.C. § 1681b(f).

                                                  16.    FCRA section 1681b(a) sets forth an exhaustive list of the purposes for

                                            which a consumer report can be lawfully furnished. Indeed, a “consumer reporting

                                            agency may furnish a consumer report under the following circumstances and no

                                            other[.]” (emphasis added). 15 U.S.C. § 1681b(a).

                                                  17.    Relevant here, a consumer report may only be furnished to someone who

                                            “intends to use the information in connection with a credit transaction involving the

                                            consumer on whom the information is to be furnished and involving the extension of

                                            credit to, or review or collection of an account of, the consumer;” or who “otherwise

                                            has a legitimate business need for the information in connection with a business

                                            transaction that is initiated by the consumer[.]” 15 U.S.C. § 1681b(a)(3)(A), (F).




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                                                                        Defendants’ Business Practices

                                                   18.     NAAS was first incorporated in Illinois in 1991 but traces its roots
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                                            through a line of family-owned automotive dealerships and other automotive

                                            businesses as far back as 1931.

                                                   19.     Collectively, Defendants Napleton Enterprises, LLC and NAAS own,

                                            operate, and control nearly 100 automotive dealerships in seven States, including 62

                                            in Illinois.

                                                   20.     Upon information and belief, as of November 2022, Defendants’ revenue

                                            was estimated to be between $100 million and $1 billion. In 2023, Napleton had a net

                                            operating income of $10.2 million.

                                                   21.     Automotive dealerships often procure credit reports about consumers

                                            seeking to purchase or lease a vehicle through a financing arrangement with the

                                            dealership. In such cases, the consumer completes a consumer credit or financing

                                            application or provides a written directive to the dealership, demonstrating their

                                            consent for the dealership to obtain a copy of their consumer credit report.

                                                   22.     However, Defendants routinely disregard the FCRA’s important privacy

                                            protections and, as in Plaintiff’s case, obtain credit reports about consumers without

                                            first obtaining their consent and/or without otherwise having a permissible purpose

                                            in violation of the FCRA.

                                                   23.     Upon information and belief, Defendants’ unlawful obtainment of

                                            consumer reports are the result of long-established, uniform practices and procedures

                                            that apply to its employees irrespective of the particular dealership at which each

                                            may work.


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                                                                               Plaintiff’s Experience

                                                  24.       On July 6, 2024, Plaintiff Olsen visited NAH Chrysler to consider the
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                                            purchase of a particular vehicle from this dealership.

                                                  25.       Plaintiff was explicit with NAH Chrysler that if he liked this vehicle, it

                                            would be a cash purchase and he was uninterested in financing.

                                                  26.       As part of the vehicle test drive and negotiation process, an employee of

                                            NAH Chrysler took a copy of Plaintiff’s driver’s license and asked a series of questions

                                            of Mr. Olsen.

                                                  27.       During the negotiation process, an employee of NAH Chrysler informed

                                            Plaintiff that price could be affected by whether Plaintiff would pay cash for the

                                            purchase or obtain financing through the dealership, pressuring Plaintiff to engage

                                            in financing through Defendants.

                                                  28.       Plaintiff refused any financing option offered by NAH Chrysler and

                                            insisted all negotiations be on the basis of a cash purchase. Plaintiff never filled out

                                            or submitted any credit application.

                                                  29.       The two parties were unable to come to an agreement, and Plaintiff did

                                            not purchase the vehicle.

                                                  30.       At no time while Plaintiff was at NAH Chrysler, or before or after, did

                                            he provide permission for Defendants to procure a copy of his consumer credit report,

                                            nor did he sign any form or document, including any application for credit or

                                            financing.




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                                                   31.    Defendants had no permissible purpose to pull or obtain Plaintiff’s

                                            consumer credit reports, as he neither applied for credit nor gave them written
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                                            instruction or authorization to access his credit report.

                                                   32.    On or about July 9, 2024, Plaintiff discovered that he had hard inquiries

                                            arising from Defendants’ impermissible procurement of his consumer credit report on

                                            all three credit reports: Equifax, Experian, and TransUnion.

                                                   33.    Angry and offended, Plaintiff promptly contacted NAH Chrysler and

                                            disputed the inquiries appearing on his consumer credit reports. He spoke with the

                                            NAH Chrysler representative who facilitated the test drive and with whom he

                                            engaged in negotiations. This employee confirmed his recollection that Plaintiff was

                                            uninterested in financing and that a potential purchase would be by cash only. This

                                            NAH Chrysler employee suggested that Plaintiff contact Napleton management.

                                                   34.    Plaintiff subsequently spoke with a manager who first suggested

                                            Plaintiff must have filled out a credit application online, to which Plaintiff confirmed

                                            he had not. The manager then said he would investigate and report back.

                                                   35.    To date, Defendants have not followed up with Plaintiff, and his

                                            subsequent calls to NAH Chrysler regarding this issue have gone unanswered.

                                                   36.    Plaintiff also directly disputed the impermissible procurement of his

                                            credit reports to Equifax, Experian, and TransUnion. To date, however, the hard

                                            inquiry information that resulted from Defendants’ unauthorized pulls remains in

                                            his credit files, to his detriment.




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                                                  37.    As a result of Defendants’ surreptitious and impermissible procurement

                                            of Plaintiff’s consumer credit reports, he has suffered and continues to suffer harm to
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                                            his credit scores, intrusion upon his seclusion and invasion of his privacy, and

                                            violation of his rights under FCRA section 1681b(f).

                                                  38.    Plaintiff’s experience is not unique. Online consumer reviews frequently

                                            reference Defendants’ practice of obtaining consumers’ credit reports without

                                            authorization.

                                                  39.    For example, one consumer posted a review that stated:

                                                  Wish I could give 0 stars When i was there to look at a car decided to
                                                  change my mind n go some where n they still ran my credit when I told
                                                  them I was just browsing[.]

                                                  40.    Another consumer posted a review that stated:

                                                  Worst car buying experience ever. They ran my credit when they said
                                                  they were gonna contact my bank because i was pre approved through
                                                  my bank before i came. When i asked the salesman a hour later whats
                                                  going on he said finances was still talking with my bank. That was lie.
                                                  They never contacted my bank. Go there if you feel like wasting your
                                                  time.

                                                  41.    Because Defendants failed to first obtain the consent of Plaintiff and

                                            members of the Class before procuring their credit reports, many members of the

                                            Class likely remain unaware of Defendants’ violations of their FCRA-secured rights.




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                                                                   V.        CLASS ACTION ALLEGATIONS

                                                  42.    Plaintiff seeks to represent a Class defined as:
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                                                  For the period beginning five (5) years prior to the filing of the
                                                  Complaint through the date of class certification, individuals with an
                                                  address in the United States and its Territories about whom
                                                  Defendants, including any subsidiaries thereof, obtained a consumer
                                                  report and for whom Defendants’ records do not contain any written
                                                  authorization or credit application from the consumer dated within
                                                  three calendar days of the date on which Defendants obtained the
                                                  consumer report. Specifically excluded from the Class are Defendants,
                                                  Defendants’ officers, directors, trustees and agents, the judge assigned
                                                  to this action, and any member of the judge’s immediate family.

                                                  43.    Subject        to   additional   information   obtained   through   further

                                            investigation and discovery, the foregoing definition of the Class may be expanded or

                                            narrowed by amendment or amended complaint.

                                                  44.    Numerosity. The members of the Class are geographically dispersed

                                            throughout the United States and are so numerous that individual joinder is

                                            impracticable. Upon information and belief, Plaintiff reasonably estimates that there

                                            are thousands of members in the Class. Although the precise number of Class

                                            members is unknown to Plaintiff at this time, the true number of Class members is

                                            known by Defendants and may be determined through discovery. Class members may

                                            be notified of the pendency of this action by mail and/or publication through the

                                            distribution records of Defendants and third-party retailers and vendors.

                                                  45.    Commonality. Common questions of law and fact exist as to all

                                            members of the Class and predominate over any questions affecting only individual

                                            Class members. These include, without limitation, whether Defendants purchased a

                                            credit report about Class members, whether Defendants obtained authorization from



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                                            the Class member prior to obtaining a consumer report about them, whether

                                            Defendants’ conduct was negligent, willful, or reckless; and whether members of the
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                                            Class are entitled to statutory, actual, and/or punitive damages, and in what

                                            amounts.

                                                   46.    Adequacy. Plaintiff is an adequate representative of the Classes

                                            because his interests are aligned with, and are not antagonistic to, the interests of

                                            the members of the Classes he seeks to represent. He has retained counsel competent

                                            and experienced in such litigation1 and he intends to prosecute this action vigorously.


                                            1       See, e.g., Brooks v. TransUnion, LLC, No. 22-48-KSM, ___ F. Supp. 3d ___, 2024 WL
                                            3625142 (E.D. Pa. Aug. 1, 2024) (Plaintiff’s “attorneys are highly qualified, experienced, and
                                            capable. Plaintiff’s law firm, [FMS], has served as class counsel in over 70 class actions. . . .
                                            FMS has been recognized for specialized expertise in litigating FCRA cases such as this
                                            one.”); Martinez v. Avantus, LLC, 343 F.R.D. 254, 266 (D. Conn. 2023) (firm “has substantial
                                            experience in class action litigation, including FCRA class actions … [and] demonstrated
                                            proficiency at all stages of suit”); Ramirez v. Trans Union, LLC, 2022 WL 17722395 (N.D.
                                            Cal. Dec. 15, 2022) (“Courts have consistently recognized Francis Mailman Soumilas ‘for its
                                            expertise in FCRA litigation and the high caliber of its work for the classes it represents.’”);
                                            Der Hacopian v. SentryLink, C.A. 18-3001 (ECF 66) (D. Md., Nov. 23, 2020 Hearing
                                            Transcript) (firm “many, many times in the past has been found to be not just qualified or
                                            competent, but extremely well-qualified and competent to represent consumer classes in
                                            many, many other jurisdictions, not only this particular jurisdiction”); Kelly v. Business
                                            Information Group, C.A. 15-6668, 2019 WL 414915, at *7 (E.D. Pa. 2019) (firm “qualified and
                                            experienced attorneys – Francis & Mailman, P.C., of Philadelphia … who have substantial
                                            experience in class action and FCRA consumer litigation and who are qualified to conduct
                                            the litigation.”); Flores v. Express Services Inc., No. 2:14-cv-03298-HB, 2017 WL 1177098, at
                                            *3 (E.D. Pa. Mar. 29, 2017) (firm “has extensive experience in consumer class action
                                            litigation); Larson v. Trans Union, LLC, C.A. 12-cv-05726, 2015 WL 3945052, at *12 (N.D.
                                            Cal. June 26, 2015) (appointing firm as class counsel on contested motion); Patel v. Trans
                                            Union, LLC, 308 F.R.D. 292, 307 (N.D. Cal. 2015) (FMS “have represented consumer classes
                                            in many cases in many districts . . . [and] have shown their proficiency in this case[.]”); White
                                            v. Equifax Info. Solutions, No. 05-01070, 2014 WL 1716154, at *13, 19, 22 (C.D. Cal. May 1,
                                            2014), aff’d sub nom. Radcliffe v. Equifax Info. Sol’ns., Inc., 818 F.3d 537, 548 (9th Cir. 2016)
                                            (appointing FMS, Caddell & Chapman, and their team as interim class counsel over
                                            objections from a competing national law firm (Boies Schiller) because firm’s team’s
                                            “credentials and experience [we]re significantly stronger in class action and FCRA
                                            litigation.”); and Barel v. Bank of America, 255 F.R.D. 393, 398-99 (E.D. Pa. 2009) (finding
                                            firm “competent, experienced and well-qualified to prosecute class actions” and noting that
                                            class counsel “have done an excellent job in representing the class in the instant litigation.”).


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                                            Plaintiff and his counsel will fairly and adequately protect the interests of members

                                            of the Classes.
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                                                  47.    Appropriateness. A class action is superior to other available methods

                                            for fair and efficient adjudication of the controversy. The damages sought by each

                                            member are such that individual prosecution would prove burdensome and expensive

                                            given the complex and extensive litigation necessitated by Defendant’s conduct. It

                                            would be virtually impossible for the members of the Classes to individually redress

                                            effectively the wrongs done to them. Even if the members of the Classes themselves

                                            could afford such individual litigation, it would be an unnecessary burden on the

                                            courts. Furthermore, individualized litigation presents a potential for inconsistent or

                                            contradictory judgments and increases the delay and expense to all parties and to the

                                            court system presented by the complex legal and factual issues raised by Defendant’s

                                            conduct. By contrast, the class action device will result in substantial benefits to the

                                            litigants and the Court by allowing the Court to resolve numerous individual claims

                                            based upon a single set of proofs in a unified proceeding.

                                                                          VI.   CLAIMS FOR RELIEF

                                                                                   COUNT I
                                                                       Violation of 15 U.S.C. § 1681b(f)
                                                                      on behalf of Plaintiff and the Class

                                                  48.    Plaintiff incorporates the foregoing paragraphs as though the same were

                                            set forth at length herein.

                                                  49.    Pursuant to sections 1681n and 1681o, Defendant is liable for

                                            negligently and willfully violating FCRA section 1681b(f) by unlawfully obtaining




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                                            credit reports about Plaintiff and members of the Class without a permissible, FCRA-

                                            authorized purpose.
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                                                  50.      Defendants and each of them are liable to Plaintiff and members of the

                                            Class for all the relief set forth in FCRA section 1681n and 1681o.

                                                                                   COUNT II
                                                                 Invasion of Privacy/Intrusion upon Seclusion
                                                                       on behalf of Plaintiff individually

                                                  51.      Plaintiff incorporates the foregoing paragraphs as though the same were

                                            set forth at length herein.

                                                  52.      Plaintiff’s consumer reports contain sensitive, personal, private

                                            information.

                                                  53.      At no time did Plaintiff wish to disclose his consumer reports to

                                            Defendants or otherwise authorize them to obtain them.

                                                  54.      Nevertheless, Defendants acquired Plaintiff’s consumer reports without

                                            his authorization and/or consent.

                                                  55.      Defendant’s unauthorized acquisition of Plaintiff’s consumer reports

                                            was highly offensive and/or objectionable.

                                                  56.      Defendant’s unauthorize acquisition of Plaintiff’s consumer reports

                                            caused him anguish and suffering.

                                                  57.      Having unlawfully intruded upon Plaintiff’s seclusion, Defendants and

                                            each of them is liable to Plaintiff for all the relief available to him under the law.

                                                                          VII.   JURY TRIAL DEMAND

                                                  58.      Plaintiff demands trial by jury on all issues so triable.




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                                                                        VIII. PRAYER FOR RELIEF

                                                     WHEREFORE, Plaintiff, individually and on behalf of all others similarly
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                                            situated, seeks judgment against Defendants for:

                                                            A.    An order certifying this matter as a class action, naming Plaintiff

                                                     as representative of the Class and Plaintiff’s attorneys as Class Counsel to

                                                     represent the Class;

                                                            B.    Actual damages, statutory damages, punitive damages, and

                                                     attorney’s fees and costs pursuant to 15 U.S.C. §§ 1681n and 1681o;

                                                            C.    Actual and punitive damages pursuant to the common law of

                                                     Illinois;

                                                            D.    Pre- and post-judgment interest as may be allowed; and

                                                            E.    Such other and further relief as may be necessary, just, and

                                                     proper.

                                            Dated:          August 14, 2024              Respectfully submitted,
                                                                                         FRANCIS MAILMAN SOUMILAS, P.C.
                                                                                            Firm No. 100495

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